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13   APPLE INC.

14
                                 UNITED STATES DISTRICT COURT
15
                               NORTHERN DISTRICT OF CALIFORNIA
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     APPLE INC.,                                   Case No.
19
                          Plaintiff,               COMPLAINT FOR
20                                                 DECLARATORY JUDGMENT
            v.                                     OF INVALIDITY OF U.S.
21                                                 PATENT NOS. 8,549,443 AND
     ZEROCLICK, LLC,                               7,818,691
22
                          Defendant.
23
                                                   DEMAND FOR JURY TRIAL
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 1          Apple Inc. (“Apple”) hereby alleges for its Complaint against Defendant Zeroclick, LLC

 2   (“Zeroclick 2”) as follows:

 3                                      NATURE OF THE ACTION

 4          1.      This is an action for declaratory judgment of invalidity of U.S. Patent No.

 5   8,549,443 (the “’443 Patent”) and U.S. Patent No. 7,818,691 (the “’691 Patent”) (collectively, the

 6   “Zeroclick Patents”) arising under the Declaratory Judgment Act, 28 U.S.C. §§ 2201-2202, and

 7   the patent laws of the United States, 35 U.S.C. §§ 1 et seq.

 8          2.      The Zeroclick Patents were previously asserted against Apple by a prior entity also

 9   named Zeroclick (“Zeroclick 1”). Zeroclick 1 filed suit in this District on September 25, 2015,

10   accusing Apple of infringing the Zeroclick Patents directly, contributorily, and by inducement.

11   (See Zeroclick, LLC v. Apple Inc., Case No. 4:15-cv-04417-JST (N.D. Cal.) (the “Zeroclick 1

12   Litigation”), ECF No. 1.)

13          3.      Apple asserted in the Zeroclick 1 Litigation that it does not infringe the Zeroclick

14   Patents and that the Zeroclick Patents are invalid and/or unpatentable under one or more

15   provisions of 35 U.S.C. § 101, 102, 103, or 112, or other judicially created bases for invalidity.

16          4.      Zeroclick 1 divested itself of all rights to the Zeroclick Patents in August 2017 by

17   transferring the rights to Dr. Nes Irvine, the named inventor of the Zeroclick Patents. Zeroclick 1

18   was terminated as an entity in December 2017. The Honorable Judge Jon S. Tigar found that

19   Zeroclick 1 lacked standing to sustain the Zeroclick 1 Litigation after divesting its rights to the

20   Zeroclick Patents, and ordered Zeroclick 1 to show cause why the Zeroclick 1 Litigation should

21   not be dismissed for lack of standing and subject matter jurisdiction. (See Zeroclick 1 Litigation,

22   ECF No. 129.) After further briefing from the parties, Judge Tigar dismissed the Zeroclick 1

23   Litigation on June 11, 2020. (See Zeroclick 1 Litigation, ECF No. 142.) Judge Tigar determined

24   that Zeroclick 1 lost standing to pursue the Zeroclick 1 Litigation as of December 2017, and

25   struck all proceedings in that action since December 2017. (Id.)

26          5.      In the course of briefing in the Zeroclick 1 Litigation on the issue of standing,

27   Zeroclick 1 asserted that Dr. Irvine had transferred the rights to the Zeroclick Patents to

28   Defendant Zeroclick 2 in January 2020. Zeroclick 1 asserted that rather than dismissing the


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 1   Zeroclick 1 Litigation, the court should permit Zeroclick 2 to be substituted in to continue the

 2   Zeroclick 1 Litigation against Apple. (See Zeroclick 1 Litigation, ECF No. 130.)

 3          6.       The course of the Zeroclick 1 Litigation has demonstrated that it is highly likely

 4   that Defendant Zeroclick 2 will assert infringement of the Zeroclick Patents against Apple. As set

 5   forth in the Zeroclick 1 Litigation and herein, Apple maintains that the Zeroclick Patents are

 6   invalid and/or unpatentable, and that Apple does not infringe the Zeroclick Patents. Therefore, an

 7   actual and justiciable controversy exists under 28 U.S.C. §§ 2201-2202 between Apple and

 8   Zeroclick 2 as to whether the Zeroclick Patents are invalid and/or unpatentable. A judicial

 9   declaration is necessary to determine the respective rights of the parties regarding the asserted

10   patents. Apple seeks a judicial declaration that the Zeroclick Patents are invalid and/or

11   unpatentable.

12                                             THE PARTIES

13          7.       Plaintiff Apple is a California corporation with its principal place of business at

14   One Apple Park Way, Cupertino, California 95014.

15          8.       On information and belief, Defendant Zeroclick 2 is a Texas limited liability

16   company with a business address of 3610-2 N Josey Lane #223, Carrollton, TX 75007. On

17   information and belief, Zeroclick 2 does not have any members, personnel, or employees other

18   than the named inventor of the Zeroclick Patents, Dr. Nes Irvine, who resides in the United

19   Kingdom.

20          9.       On information and belief, Dr. Irvine formed Defendant Zeroclick 2 on or around

21   November 6, 2019.

22                                     JURISDICTION AND VENUE

23          10.      This action arises under the Declaratory Judgment Act, 28 U.S.C. §§ 2201-2202,

24   and under the patent laws of the United States, 35 U.S.C. §§ 1 et seq.

25          11.      This Court has subject matter jurisdiction over this action under 28 U.S.C.

26   §§ 1331, 1338(a), 2201(a), and 2202.

27          12.      This Court has personal jurisdiction over Defendant Zeroclick 2 for purposes of

28   this specific action. On information and belief, the named inventor of the Zeroclick Patents, Dr.

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 1   Nes Irvine, is the sole member of Zeroclick 2, which is a patent assertion entity whose sole

 2   activity is the assertion of the Zeroclick Patents in litigation against various entities. The now

 3   terminated Zeroclick 1 previously asserted the Zeroclick Patents against Apple in the Zeroclick 1

 4   Litigation in this District. (See Zeroclick, LLC v Apple Inc., Case No. 4:15-cv-04417-JST.) Dr.

 5   Irvine was ultimately the sole member of Zeroclick 1, and Zeroclick 2 sought to substitute in as

 6   plaintiff to continue the Zeroclick 1 Litigation against Apple in this District, based on Dr. Irvine’s

 7   alleged transfer of the relevant rights to Zeroclick 2 in January 2020. Dr. Irvine previously had

 8   repeated direct contacts with Apple in this District about the Zeroclick Patents, including sending

 9   a fax to Apple in 2002, sending emails to Apple’s litigation counsel in an unrelated case in 2014,

10   and sending emails to Apple’s in-house counsel in 2014. Dr. Irvine also emailed Judge Lucy Koh

11   of this District (and others) in 2014 regarding the Zeroclick Patents, and Zeroclick 2 has also

12   purposefully availed itself of the resources of this District to enforce the Zeroclick Patents (see

13   HP Inc. v. Zeroclick, LLC, Case No. 4:19-cv-06532-JST (N.D. Cal.), ECF No. 17). Dr. Irvine

14   and Zeroclick 2 have purposefully directed their activities at Apple in this District relating to the

15   Zeroclick Patents, and this action arises out of and directly relates to their contacts with Apple

16   and this District, including their communications with Apple and this District via Dr. Irvine and

17   counsel, and their related litigation activity in this District against Apple and others.

18           13.     Venue in this District is proper under 28 U.S.C. §§ 1391(b), (c), and (d) with

19   respect to Apple’s declaratory judgment claims. Apple maintains its principal place of business

20   in this District. Defendant Zeroclick 2 is subject to personal jurisdiction in this District for

21   purposes of this specific action, as alleged above. This District also has familiarity with the

22   Zeroclick Patents through prior litigation, and judicial economy would be served by adjudicating

23   this action in this District.

24           14.     An actual and justiciable controversy exists under 28 U.S.C. §§ 2201-2202

25   between Apple and Zeroclick 2 as to whether the Zeroclick Patents are invalid and/or

26   unpatentable.

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 1                                            PATENTS-IN-SUIT

 2           15.      The ’443 Patent, entitled “Zeroclick,” states on its face that it issued on October 1,

 3   2013. A true and correct copy of the ’443 Patent is attached as Exhibit A.

 4           16.      The ’691 Patent, entitled “Zeroclick,” states on its face that it issued on

 5   October 19, 2010. A true and correct copy of the ’691 Patent is attached as Exhibit B.

 6                                                  COUNT I
 7                   (Declaratory Judgment of Invalidity of U.S. Patent No. 8,549,443)
 8           17.      Apple incorporates by reference each allegation set forth in paragraphs 1 through

 9   16 above as if fully set forth herein.

10           18.      The claims of the ’443 Patent are invalid and/or unpatentable under one or more

11   provisions of 35 U.S.C. § 101, 102, 103, or 112, or other judicially created bases for invalidity.

12           19.      Zeroclick 2 has notice of the bases for Apple’s invalidity claims, including the

13   grounds identified in the following documents filed or served in discovery in the Zeroclick 1

14   Litigation, which Apple hereby incorporates by reference:

15           (a) Apple’s Amended Invalidity Contentions Pursuant to L.R. 3-3 and 3-4, served on

16                 September 24, 2019 (Zeroclick 1 Litigation, ECF No. 99-2);

17           (b) Opening Expert Report of Scott Klemmer Regarding Validity of U.S. Patent Nos.

18                 8,549,443 and 7,818,691, served on December 20, 2019 (Zeroclick 1 Litigation, ECF

19                 No. 99-3); and

20           (c) Apple’s Motion for Judgment on the Pleadings (Zeroclick 1 Litigation, ECF No. 88).

21           20.      One or more of the claims of the Zeroclick Patents purport to claim subject matter

22   ineligible for patent protection. One or more of the claims are drawn to abstract ideas without the

23   addition of any inventive steps sufficient to qualify as a patent-eligible invention.

24           21.      One or more of the claims of the Zeroclick Patents are anticipated or rendered

25   obvious by the prior art.

26           22.      One or more of the claims of the Zeroclick Patents are indefinite under the Federal

27   Circuit’s 35 U.S.C. § 112(f) precedent, and one or more of the claims of the Zeroclick Patents

28   recite generic terms and phrases tantamount to using the word “means” in combination with

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 1   functions, without reciting a sufficiently definite structure and without a sufficiently definite

 2   corresponding structure disclosed in the specification.

 3           23.      As a result of prior allegations against Apple asserting the Zeroclick Patents, an

 4   actual and justiciable case or controversy exists between Apple and Zeroclick 2 as to the validity

 5   of the claims of the ’443 Patent.

 6           24.      Apple is entitled to a declaration that the claims of the ’443 Patent are invalid

 7   and/or unpatentable under one or more provisions of 35 U.S.C. § 101, 102, 103, or 112, or other

 8   judicially created bases for invalidity. Such a declaration is necessary and appropriate at this time

 9   to determine the rights and obligations of the parties.

10                                                 COUNT II
11                   (Declaratory Judgment of Invalidity of U.S. Patent No. 7,818,691)

12           25.      Apple incorporates by reference each allegation set forth in paragraphs 1 through

13   24 above as if fully set forth herein.

14           26.      The claims of the ’691 Patent are invalid and/or unpatentable under one or more

15   provisions of 35 U.S.C. § 101, 102, 103, or 112, or other judicially created bases for invalidity.

16           27.      Zeroclick 2 has notice of the bases for Apple’s invalidity claims, including the

17   grounds identified in the following documents filed or served in discovery in the Zeroclick 1

18   Litigation, which Apple hereby incorporates by reference:

19           (a) Apple’s Amended Invalidity Contentions Pursuant to L.R. 3-3 and 3-4, served on

20                 September 24, 2019 (Zeroclick 1 Litigation, ECF No. 99-2);

21           (b) Opening Expert Report of Scott Klemmer Regarding Validity of U.S. Patent Nos.

22                 8,549,443 and 7,818,691, served on December 20, 2019 (Zeroclick 1 Litigation, ECF

23                 No. 99-3); and

24           (a) Apple’s Motion for Judgment on the Pleadings (Zeroclick 1 Litigation, ECF No. 88).

25           28.      One or more of the claims of the Zeroclick Patents purport to claim subject matter

26   ineligible for patent protection. One or more of the claims are drawn to abstract ideas without the

27   addition of any inventive steps sufficient to qualify as a patent-eligible invention.

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 1          29.     One or more of the claims of the Zeroclick Patents are anticipated or rendered

 2   obvious by the prior art.

 3          30.     One or more of the claims of the Zeroclick Patents are indefinite under the Federal

 4   Circuit’s 35 U.S.C. § 112(f) precedent, and one or more of the claims of the Zeroclick Patents

 5   recite generic terms and phrases tantamount to using the word “means” in combination with

 6   functions, without reciting a sufficiently definite structure and without a sufficiently definite

 7   corresponding structure disclosed in the specification.

 8          31.     As a result of prior allegations against Apple asserting the Zeroclick Patents, an

 9   actual and justiciable case or controversy exists between Apple and Zeroclick 2 as to the validity

10   of the claims of the ’691 Patent.

11          32.     Apple is entitled to a declaration that the claims of the ’691 Patent are invalid

12   and/or unpatentable under one or more provisions of 35 U.S.C. § 101, 102, 103, or 112, or other

13   judicially created bases for invalidity. Such a declaration is necessary and appropriate at this time

14   to determine the rights and obligations of the parties.

15                                         PRAYER FOR RELIEF
16          WHEREFORE, Plaintiff Apple requests that the Court enter judgment in its favor and

17   against Zeroclick 2 as follows:

18          (a) Declaring that the ’443 Patent is invalid and/or unpatentable;

19          (b) Declaring that the ’691 Patent is invalid and/or unpatentable; and

20          (c) Awarding Apple any other relief as the Court deems just and proper.

21                                       DEMAND FOR JURY TRIAL
22          Apple hereby demands a jury trial on all issues so triable.

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 1   Dated: June 12, 2020                  SCOTT F. LLEWELLYN
                                           MORRISON & FOERSTER LLP
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 3
                                           By:     /s/ Scott F. Llewellyn
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                                                 APPLE INC.
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